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                     UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                          NORTHERN DIVISION

RICHARD MONAHAN                                                               PLAINTIFF

v.                         CASE NO. 3:22-CV-00129-BSM

RED MULE EXPRESS LLC                                                       DEFENDANT

                                        ORDER

      The bench trial herein will begin on Tuesday, January 23, 2024, at 9:30 a.m. in the E.

C. ‘Took’ Gathings Federal Building, 615 S. Main, Jonesboro, Arkansas, in Courtroom #324.

      IT IS SO ORDERED this 5th day of January, 2024.



                                                UNITED STATES DISTRICT JUDGE
